              Case 1:09-cv-03280-AT Document 224 Filed 09/16/11 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

JOHNNY BATES and PATRICIA                      )
MIDDLETON BATES,                               )
                                               )
                        Plaintiffs,            )
                                               )
            vs.                                ) CASE NO.1 :09-CV-3280-AT
                                               )
MICHELIN NORTH AMERICA, INC.,                  )
                                               )
                        Defendant.             )
                                               )
                                               )
--------------- )


                  ORDER REGARDING DEFENDANT'S
          MOTION TO ALLOW COUNSEL TO BRING ELECTRONIC
        EQUIPMENT INTO THE COURTHOUSE FOR THE HEARING ON
                PLAINTIFFS' MOTION FOR SANCTIONS

            Having considered Defendant's Motion to Allow Counsel to Bring

Electronic Equipment Into the Courthouse for the Hearing on Plaintiffs' Motion for

Sanctions, it is hereby ORDERED AND ADJUDGED that counsel for Defendant

may bring the electronic equipment referenced above, including laptop computers,

monitors, switching devices, amplifiers, cabling and wiring, power supplies, audio

system, portable scanner, portable printer, printing supplies, presentation table,




US2008 2879694.1
               Case 1:09-cv-03280-AT Document 224 Filed 09/16/11 Page 2 of 2




 presentation pointer, portable hard-drive and wireless mouse into the courtroom for

 the hearing on September 19, 2011.

             SO ORDERED, this    I~      day of September, 2011.




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